
65 N.Y.2d 898 (1985)
In the Matter of 61 Jane Street Associates, Appellant,
v.
New York City Conciliation and Appeals Board et al., Respondents.
Court of Appeals of the State of New York.
Decided July 11, 1985.
Richard F. Czaja for appellant.
Cullen S. McVoy for respondents.
Concur: Chief Judge WACHTLER and Judges JASEN, MEYER, SIMONS, KAYE and TITONE. Taking no part: Judge ALEXANDER.
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), order affirmed, with costs. It cannot be said that the determination of lawful rent was either arbitrary or capricious, or that the remedy imposed was disproportionate under the circumstances.
